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                          DECLARATION OF JOHNNY SINODIS

I, Johnny Sinodis, hereby declare as follows:

   1. I am a partner at Van Der Hout LLP, which is located at 360 Post Street, Suite 800, San

Francisco, CA 94108. I have personal knowledge of the matters stated herein.

   2. I represent the person identified in the email correspondence filed on May 7, 2025, with

the Court. Dkt. 90-4. I can confirm that my client has a final order of removal to the Philippines,

which was issued on March 11, 2025.

   3. The information in this declaration is based on (1) notes that I took during two phone

calls with my client on May 7, 2025, at approximately 1:00 p.m. Pacific Standard Time (the first

call lasted about ten minutes before the call ended due to time limits, and my client called me

back a few minutes later) and (2) calls I have had with various U.S. Immigration and Customs

Enforcement (ICE) officers.

   4. As background, my client is currently detained at the South Texas ICE Processing

Center, a facility run by The GEO Group. He was previously detained at the Northwest ICE

Processing Center (NWIPC) in Tacoma, Washington. While at NWIPC, he was issued an order

of removal on March 11, 2025. He thereafter was told by his deportation officer (DO) that he

was scheduled to be on a removal flight to the Philippines on either April 27 or 28, 2025.

   5. Approximately two weeks before April 27, my client was transferred to Texas. He was

told by an ICE officer in Tacoma that the decision to transfer him came from “headquarters.” He

has been detained at the South Texas ICE Processing Center for about three weeks, and he spent

some amount of time (he is unsure as to the total number of days) in another facility in Texas

prior to being transferred to the South Texas ICE Processing Center. Contrary to what he was

told by the ICE officer in Tacoma, he was not put on a flight to the Philippines on April 27 or




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April 28.

   6. On May 5, 2025, my client called me in the middle of the day to say that he was

scheduled to be interviewed by ICE. That night, around 7:00 p.m. Pacific Standard Time, my

client called me and said that two ICE officers informed him during his interview that he would

be removed to Libya. The officers at some point showed him a one-page document saying he

would be removed to Libya, which shocked my client. The officers said it would be the quickest

way for him to get out of custody. My client asked whether he had a choice, and the officers told

him that he did not. The officers then took the one-page document and said it would be in my

client’s possessions, which would be returned to him once removed from the United States.

   7. To date, I have not received any notification from ICE regarding the decision to send my

client to Libya.

   8. On May 6, 2025, my client called me in the middle of the day to say that the money in his

commissary account had been “zeroed out,” which usually occurs before someone is transferred

from the facility and/or prior to removal from the United States.

   9. On the evening of May 6, 2025, at around 6:00 p.m., I, along with another attorney at my

office, contacted the South Texas ICE Processing Facility by phone to request a copy of the

notice that my client had received informing him he would be removed to Libya and to request

that he be provided a reasonable fear interview. We were told by a front-line ICE officer that my

client’s assigned DO was not present at the facility, and that he was unable to access complete

information about him on the computer system. He informed us, however, that there was no

notation that my client was scheduled to be removed to Libya. The officer claimed to be

surprised to hear that my client had been informed he would be removed to Libya and repeatedly

stressed that, because my client is Filipino, he should be removed to the Philippines. The officer




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assured me that my client would not be removed to Libya or anywhere else before the following

day (May 7), and said he was not scheduled for any “commercial” or “chartered” flight. He used

the words “commercial” and “chartered.”

   10. Before and after this phone call on May 6, 2025, I sent a series of emails to ICE, which

were filed with the Court on May 7, 2025.

   11. On May 7, 2025, in the morning, I along with my colleague again contacted the South

Texas ICE Processing Center. The officer we spoke with said that the South Texas facility had

no control over my client’s removal, and that those decisions were made by ICE in Tacoma. He

stated that we needed to contact ICE in Tacoma to request a reasonable fear interview. He further

informed me that my client was not scheduled for removal on May 7, 2025. He stated several

times that he had no idea why our client was informed he would be removed to Libya, and that

he was Filipino and set to be removed to the Philippines.

   12. At this point, I emailed counsel in the instant matter to provide them an update as to my

communications with ICE.

   13. I, along with my colleague, then contacted the Tacoma ICE Processing Center and

requested to speak to the officers assigned to my client’s case. The officer we spoke with was not

the officer assigned to my client. This officer was also shocked to hear that our client had been

informed he would be removed to Libya. When we requested to speak to a supervisor and the

officer assigned to my client given the emergency situation, the officer replied “I can assure you

this is not an emergency because that emergency does not exist,” referring to the potential of a

flight to Libya. The officer then transferred the call to the officer assigned to my client, who did

not answer the phone. We repeatedly attempted to contact the officer assigned to my client and

the supervisor at the facility between 9:00 a.m. and 12:30 p.m. Pacific Standard Time but




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received no response.

   14. During this period of time, I emailed the Office of the Principal Legal Advisor in

Tacoma, Washington, and asked (1) that my client be provided with a reasonable fear interview

and (2) that I be provided notice of the decision to remove him to Libya. A true and correct copy

of that email is attached hereto.

   15. Just before 12:30 p.m. Pacific Standard Time on May 7, 2025, Supervisory Deportation

and Detention Officer Garza from San Antonio ICE called me. He told me that he had received

my emails and was looking into the situation. He stated that he had “no explanation” for what my

client had been told and said something along the lines of “I cannot guarantee that did not

happen” but that it “is not right and it makes no sense.” Officer Garza then told me that he would

give me another call, hopefully by the end of the day. I have not heard from Officer Garza since

that time.

   16. Several minutes before 1:00 p.m. on May 7, 2025, my client called me from the South

Texas ICE Processing Center. He stated that he was woken up by officers at around 2 a.m. on

May 7, 2025. Shortly thereafter, GEO Group Correctional Emergency Response Team (CERT)

members dressed in full riot gear entered his pod and told him that he would be leaving in five

minutes.

   17. Between 2:40-2:50 a.m., the CERT Team members returned to transfer him and twelve

other individuals out of his pod.

   18. At one point, my client heard a GEO employee say, out loud, “Really, CERT?,” as if in

disbelief of the display of force.

   19. The CERT Team took my client to the facility’s intake space, where he was held for

around thirty minutes to an hour.




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    20. The facility did not allow him to change into his regular clothes, which they normally

would do when removing someone from the facility for any reason, including for a deportation

flight. Instead, he and the twelve other individuals were processed out of the facility in

jumpsuits.

    21. My client states that one other individual is Mexican, and another is Bolivian. My client

informed me that both of these individuals have removal orders to their home countries and had

been told that their countries will accept them.

    22. As to the Mexican national, my client told me that, after he was informed that he would

be removed to Libya, he called the Mexican Consulate to explain what was happening. The

Mexican consul responded that ICE could not send him to Libya.

    23. During the process of being processed out of the facility, my client recognized that the

two ICE officers who had interviewed him on Monday were present for his transfer.

    24. My client’s belongings were packed for him, as if the CERT Team and ICE officers were

trying to move him out of the facility quickly.

    25. My client asked one of the ICE officers if the group was still going to Libya and the

officer said yes.

    26. While being processed out of the facility, my client and the rest of the group were placed

in shackles. The shackles were fixed around their ankles and waist.

    27. My client was then placed on to a bus outside the facility with the twelve other members

of the group. The bus resembled a school bus. It was all white and had an image of a bird on it.

    28. My client observed that two people on the bus had logos that read “G4S.” One of the

characters in the logo is red. On information and belief, G4S is a British multinational private

security firm.




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   29. When my client and the other individuals asked these G4S employees for information as

to what was happening, the G4S employees said that they did not know and did not have any

information.

   30. On the bus, my client and the rest of the group remained shackled at the ankles and waist.

   31. ICE officers did not board the bus with my client. Instead, ICE vehicles served as an

escort for the bus.

   32. My client states that the bus was driven to what appeared to be a military airport where a

large military plane was waiting.

   33. My client and the rest of the group were never taken off the bus. They remained on the

bus, sitting next to the large military plane, for approximately three to four hours.

   34. At some point in the morning, rather than being shuffled off the bus and onto the large

military plane, the bus drove back to the South Texas ICE Processing Facility. My client says

that they arrived back at the facility around 11:00 a.m. Central Standard Time on May 7.

   35. My client and the rest of the group were taken off the bus and placed into the Special

Housing Unit (SHU—also known as solitary confinement). Officers informed the group that they

were not in trouble but that they could be held in SHU for twenty-four hours.

   36. My client added that, if he had to interpret how the officers were acting once the bus

returned to the facility, he would say they looked “peeved,” as if they were disappointed by what

was occurring.

   37. My client has since been returned to the dorm where he was housed prior to being woken

up abruptly and transferred out of the facility in the early morning hours of May 7. Nobody at the

facility has communicated to my client whether they will attempt to remove him to Libya again

or at any point in the future. I also have not received any further correspondence from ICE.




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I declare under penalty of perjury that the foregoing statement is true and correct to the best of
my own personal knowledge. Executed this 12th day of May 2025 at San Francisco, California.

                                                                           ___________________
                                                                                  Johnny Sinodis
                                                                                       Declarant




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